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                Exhibit 4
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[LETTERHEAD OF CELLTRION COUNSEL]




To: Counsel for Janssen




   [Counsel]


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[Counsel for Celltrion]
